                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                        Case No. 16-CR-133

CHRISTOPHER E. MORGAN,

                           Defendant.


 REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


      The Honorable J.P. Stadtmueller referred this matter to this court for the

purposes of advising and questioning the defendant regarding a plea of guilty and for

the defendant to enter a plea of guilty pursuant to Federal Rule of Criminal Procedure

11. On November 8, 2016, the parties appeared before this court. The defendant pled

guilty to the following count of the indictment: Count 2.

      After cautioning and examining the defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the defendant’s plea was knowing and

voluntary. I find that the offense charged is supported by an independent factual basis

containing the essential elements of such offense.




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       I therefore recommend that the plea of guilty be accepted, that a pre-sentence

investigation be conducted and report prepared, that the defendant be adjudged guilty,

and that sentence be imposed accordingly.

       Your attention is directed to General L.R. 72(c), 28 U.S.C. § 636(b)(1)(B) and

Federal Rules of Criminal Procedure 59(b) whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of the date

of service of this recommendation. Objections are to be filed in accordance with the

Eastern District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the district court shall result in a waiver of a party’s right to appeal.

       Dated at Milwaukee, Wisconsin this 9th day of November, 2016.



                                                  _________________________
                                                  WILLIAM E. DUFFIN
                                                  U.S. Magistrate Judge




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